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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF INDIANA
                                   INDIANAPOLIS DIVISION

CYNTHIA OLINGER VANOVER,                               )
                                                       )
                                    Plaintiff,         )
                                                       )
                          v.                           )       No. 1:20-cv-00266-TWP-DML
                                                       )
CITY OF SHELBYVILLE, and                               )
UNKNOWN OFFICERS,                                      )
                                                       )
                                    Defendants.        )

                                                 ORDER

       Pro se Plaintiff Cynthia Olinger Vanover filed a “Complaint” on January 23, 2020 (DKT

No. 1). Plaintiff failed to pay the filing fee. While she filed a handwritten document titled “Waiver

Fee,” this document is insufficient to allow the Court to rule upon any motion for leave to proceed

without the prepayment of the filing fee (in forma pauperis). Plaintiff must either prepay the filing

fee or demonstrate that she lacks the financial ability to do so by an adequate motion to proceed in

forma pauperis. The Court will provide Plaintiff with a form that she should fully complete which

will assist the Court in its determination. No further action will be taken on this case until Plaintiff

either pays the filing fee or files a motion to proceed in forma pauperis.

       The Clerk is directed to mail a copy of the form “Request to Proceed in District Court

Without Prepaying the Filing Fee” to the Plaintiff with this Order.

       SO ORDERED.

       Date:    1/31/2020
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Distribution:

CYNTHIA OLINGER VANOVER
713 Center St.
Shelbyville, IN 46176
